
94 N.Y.2d 894 (2000)
ROBERTA S. HALLIDAY, Individually and as Administrator of the Estate of JAMES HALLIDAY, Deceased, et al., Appellants,
v.
NORTON COMPANY et al., Respondents, et al., Defendants. (Action No. 1.)
ROBERTA S. HALLIDAY, Individually and as Administrator of the Estate of JAMES HALLIDAY, Deceased, et al., Appellants,
v.
TOWN OF HALFMOON, Respondent. (Action No. 2.)
Court of Appeals of the State of New York.
Submitted December 20, 1999.
Decided February 29, 2000.
Motion, insofar as it seeks leave to appeal against defendants Norton Company, Norton International, Inc., and AlliedSignal, Inc., denied; motion otherwise dismissed upon the ground that as to the remaining defendants the order sought to be appealed from does not finally determine the actions within the meaning of the Constitution.
Judge LEVINE taking no part.
